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                                               UNITED STATES BANKRUPTCY COURT
                                             FOR THE WESTERN DISTRICT OF VIRGINIA
                                                     LYNCHBURG DIVISION


  In re: KAREN M FOSTER                                                                         CASE NO. 12-60619

                             Debtor(s)                                                          CHAPTER 11

                                                    DEBTOR-IN-POSSESSION ORDER

            Pursuant to debtor's petition filed under Chapter 11, it is

                                                                 O R D E R E D:

   That pending further order of this Court, debtor shall operate its business as debtor in possession with powers, rights and duties of a
trustee under 11 U.S.C. Section 1107, conditioned as follows:

   l. Debtor shall not pay any pre-petition debt;
                                                may employ, discharge and fix salaries of all em ployees; but officers' and directors' salaries
shall be reported by the debtor in possession in writing within ten (10) days of entry of this order to the office of the U.S. Trustee and to
the creditors' com mittee designated in this case and absent any written objection and request for he aring by the U. S. Trustee or the
creditors' committee within fourteen (14) days after the conveningof the Section 34l meeting of creditors, said salaries shallbe fixed; shall
not, without, court approval, use "cash collateral" as defined in11 U.S.C. Section 363 (a) unless the secured party consents; shall not sell
property of the estate other than in the ordinary course ofbusiness except with court approval; may obtain unsecured credit inthe ordinary
course of business; may not obtain secured, priority or senior lien credit without court approval under 11 U.S.C. Section 364; and shall
maintain adequate insurance on the property of the estate and make timely payment of any and all premiums thereon.

    2. Debtor shall close its current books and open new books of account showing all earnings, expenses, receipts and disbur sements
commencing with the date of the petition; shall segregate on itsbooks all taxes collected or withheld whether federal, state,or local; shall
close all bank accounts currently maintained and open two new bank accounts, a Debtor in Possession "Operating Account" and a Debtor
in Possession "Tax Account". Debtor shall deposit in the tax account all funds required to be escrowed under state or federal law, to be
disbursed only for the purpose for which they are set aside. All federal payroll taxes (e.g. FICA, FUCA) shall be deposited each time a
payroll is made; and Debtor shall notify: Chief, Technical Section, Internal Revenue Service,P. O. Box 10025, Richmond, Virginia 23240
of the date, place, amount of each deposit and whether it is the entire amount due and promptly prepare and file all tax returns required
by law. Debtor shall follow all guidelines, regulations and directives of the Office of the United States Trustee pertaining to Chapter 11
cases including, but not limited to, payment of the required quarterly fees.

   3. Failure by debtor to comply with the terms, conditions and provisions of this order may require debtor to appear before this court
for a hearing relative to the further administration of debtor's case, or for debtor to show cause why a trustee should not be appointed, or
the debtor's case should not be converted to Chapter 7 or dismissed; and it is

                                                            FURTHER ORDERED:

  That within fourteen (14) days after the entry of thisorder, counsel shall filewith this court a report disclosing counsel's fee arrangement
with debtor, the amount of the retainer received, if any, the disposition of the same, and comply with the provisions of 11 U.S.C. Section
327, et seq. and Bankruptcy Rule 2014. Failure of counsel to comply with the foregoing may result in disallowance of attorney's fees.
Upon review by this court ofcounsel's filings and barring any written objection to counsel's employment and a request for hearing thereon,
counsel of record shall continue, until further order of court, as counsel for the debtor in possession.

   Service of a copy of this order shall be made by mail to debtor, counsel for debtor, and the United States Trustee.

DATED: 3/16/12


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                                                                     WILLIAM E. ANDERSON, JUDGE
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